                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                     3:06cr55

UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                    ORDER
                                         )
JOEY POUNDS                              )
________________________________________ )


       THIS MATTER is before the Court upon motion of the defendant for review of

detention. (Doc. No. 225).

       The defendant pled guilty to Count One of the indictment on December 13, 2006, charging

conspiracy to possess with intent to deliver Ecstacy and marijuana. (Doc. No. 189: Plea

Agreement; Doc. No. 202: Acceptance and Entry of Guilty Plea). Thus, the defendant has been

found guilty and is awaiting imposition of sentence for an offense described in subparagraph (C)

of subsection (f)(1) of 18 U.S.C. § 3142. Pursuant to § 3143(a)(2), the defendant shall be

detained unless the Court finds a substantial likelihood that a motion for acquittal or new trial will

be granted; or an attorney for the government has recommended that no sentence of imprisonment

be imposed; and the Court finds by clear and convincing evidence the person is not likely to flee

or pose a danger to any other person or the community. 18 U.S.C. § 3143(a)(2)(A)(i), (ii) and (B).

       Upon review of the record, even in a light most favorable to the defendant, the Court finds

the defendant has not alleged or established that there is a substantial likelihood that motion for

acquittal or new trial will be granted or that an attorney for the government has recommended that

no sentence of imprisonment be imposed. Thus, the Court is obligated by the statute to detain the

defendant because the prerequisites for release have not been met. Id.



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       IT IS, THEREFORE, ORDERED that the defendant’s motion is DENIED.

       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals service, and the U.S.

Probation office.

                                                  Signed: May 9, 2007




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